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1                                                               The Honorable Richard A. Jones
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7                             UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
8
                                          AT SEATTLE
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10
      UNITED STATES OF AMERICA,                          NO. CR11-0070RAJ
11
                               Plaintiff
                                                         RESPONSE TO DEFENDANT’S
12
                                                         MOTION TO EXCLUDE “OTHER
13                                                       ACTS” EVIDENCE
                         v.
14
      ROMAN VALEREYVICH SELEZNEV,                        NOTED: August 3, 2016
15
                               Defendant.
16
17
                                           I.     INTRODUCTION
18
             The Second Superseding Indictment charges defendant with engaging in a scheme
19
     to defraud that included stealing credit card data from “hundreds of retail businesses . . .
20
     including but not limited” to 62 businesses identified in the indictment. Dkt. 90 at ¶ 17.
21
     The indictment alleges that defendant executed this scheme to defraud in this district by
22
     means of 11 specific wire transmissions involving local victims, such as Mad Pizza and
23
     Grand Central Baking.
24
             Defendant moves to exclude evidence of intrusions other than the 11 wire
25
     transmissions charged as executions. Dkt. 365. Defendant mistakenly characterizes
26
     these intrusions as “separate and distinct criminal acts,” when they are in fact part of the
27
     single scheme to defraud with which defendant is charged. Id. at 1.
28
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 1           Defendant’s motion is contrary to black-letter law. It is well established that, in a
 2 prosecution alleging a scheme to defraud (such as a mail fraud or wire fraud prosecution),
 3 the government is entitled to present evidence of the entire scheme to defraud, and is not
 4 confined by the specific wirings or mailings charged as executions of the scheme. In this
 5 case, evidence of defendant’s hundreds of intrusions is direct evidence of the existence of
 6 a scheme to defraud, and is not “other acts” evidence subject to Rule 404(b) as defendant
 7 suggests. Accordingly, the motion should be denied.
 8                                         II.     BACKGROUND
 9 A.        The Scheme to Defraud
10           On October 8, 2014, the grand jury returned a Second Superseding Indictment
11 (hereinafter “the indictment”) charging defendant with, inter alia, 11 counts of wire fraud
12 in violation of 18 U.S.C. § 1343 and 2. The indictment sets forth the object of the
13 scheme to defraud as follows:
14      The object of the scheme and artifice to defraud was to obtain, market, and
15           sell stolen credit card numbers on underground websites for the purpose
             and with the intent that the stolen credit card numbers would then in turn be
16           used for fraudulent transactions across the United States and in foreign
17           countries, thereby defrauding the issuing banks and the merchants that
             accepted the cards for payment based on the false pretense that the users of
18           the stolen credit card numbers were authorized users of those credit card
19           numbers. By way of this series of criminal actions, the defendant intended
             to and did generate and receive millions of dollars in illicit profits, and
20           caused millions of dollars in losses to banks and merchants.
21
     See Second Superseding Indictment, Dkt. 90 at p. 2, ¶ 2.
22
             The indictment alleges defendant, “and others known and unknown to the Grand
23
     Jury,” configured multiple “dump collection” servers including a server in McLean,
24
     Virginia to receive and compile the stolen credit card numbers that defendant hacked as
25
     part of a wide ranging scheme to target point of sale systems all over the world. Id. at p.
26
     4, ¶ 8. In addition, the indictment alleges that defendant and his co-conspirators scanned
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 1 computers throughout the world for vulnerabilities that they could use to facilitate their
 2 fraud scheme. Id. ¶ 10.
 3           The indictment plainly defines the scope of the scheme to defraud as including
 4 intrusions into hundreds of businesses. Specifically, the indictment alleges that, through
 5 the use of the techniques described above, defendant identified, hacked into, and stole
 6 data from “hundreds of retail businesses in the Western District of Washington and
 7 elsewhere including, but not limited to . . .” 62 business locations named in the
 8 indictment. Id. at p. 6, ¶ 16 (emphases added).
 9           At trial, the evidence will show that the hundreds of attacks were part of a single
10 scheme achieved using common methods and computer infrastructure. For example,
11 Detective Dunn will testify the evidence he gathered with respect to these hundreds of
12 victims showed: 1) all were infected with the same family of custom malware; 2) the
13 majority used similar point of sale software; 3) most had been hacked via compromise of
14 remote desktop access; and 4) most were engaged in a similar business operations
15 (primarily restaurants, particularly pizza restaurants). The data from all attacks was then
16 offered for sale on defendant’s websites.
17 B.        Execution of the Scheme to Defraud
18           The wire fraud statute requires the government to prove that the scheme to defraud
19 was executed by means of at least one interstate or foreign wire transmission in
20 furtherance of the fraud. 18 U.S.C. § 1343. To establish venue, the indictment must
21 charge that at least one of the wirings was “begun, continued or completed” in this
22 district. United States v. Pace, 314 F.3d 344, 350 (9th Cir. 2002). Accordingly,
23 Paragraph 32 of the Indictment alleges, as executions, 11 specific wirings in this district
24 in furtherance of the fraud. These examples are just a small subset of the many (probably
25 tens of thousands of) wirings that defendant used in the course of his scheme. The
26 charged executions include transmissions to local businesses including several Mad Pizza
27 locations, Grand Central Baking Company and Broadway Grill. Dkt. 90 ¶ 32.
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 1                                           III.       ARGUMENT
 2           Defendant contends that evidence of intrusions other than the 11 listed executions
 3 constitutes “other acts” evidence that should be excluded under Rule 404(b). Rule 404(b)
 4 applies when the government seeks to introduce evidence of conduct other than that
 5 charged in the indictment. Here, however, the hundreds of intrusions at issue are part of
 6 the charged scheme, and are therefore admissible to prove that scheme. The evidence is
 7 thus not “other acts” evidence at all, and does not implicate Rule 404(b).
 8           To sustain a conviction for wire fraud, the government must prove, inter alia, (1)
 9 the existence of a scheme to defraud; and (2) that fraud scheme was executed by means of
10 interstate or foreign wire transmissions. Ninth Circuit Model Instruction 8.124. The flaw
11 in defendant’s motion is that it confuses these two elements and mistakenly assumes that
12 the scope of the scheme to defraud is limited to the executions (wirings) listed in the
13 indictment. This is not the law.
14           The Ninth Circuit and other courts have repeatedly held that, in proving the
15 existence of a scheme to defraud, the government is entitled to present evidence of the
16 entire scheme. The government is not limited (as defendant asserts here) to evidence of
17 victims involved in the charged executions. United States v. Montgomery, 384 F.3d
18 1050, 1061-62 (9th Cir. 2004) (in prosecution alleging nineteen counts of mail fraud,
19 government was properly allowed to present evidence of more than one thousand
20 incidents of fraud); United States v. Mundi, 892 F.2d 817, 820 (9th Cir. 1989) (where
21 wire fraud indictment referred to a single victim but described the scheme “in terms that
22 indicated a far wider scope of operations,” government properly introduced evidence of
23 other victims of the same scheme not referenced in the indictment); see United States v.
24 Dula, 989 F.2d 772, 777 (5th Cir. 1993) (in wire fraud prosecution, evidence of fraud on
25 victims not referenced in the indictment “was relevant to the existence of a scheme to
26 defraud and therefore independently admissible as direct proof of the scheme charged”);
27 United States v. Roylance, 609 F.2d 164, 167 (10th Cir. 1982) (in mail fraud prosecution,
28 evidence of fraudulent transactions other than those specified in the indictment “did not
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 1 constitute excludable other crimes evidence, but proof highly probative of the existence
 2 of the very scheme” charged in the indictment); United States v. Nelson, 570 F.2d 258,
 3 262 (8th Cir. 1978) (rejecting argument that court should have excluded evidence of
 4 conduct occurring before the charged wirings; “evidence presented concerning the
 5 existence of a scheme . . . prior to the placing of the calls was appropriately introduced to
 6 prove one of the elements, i.e., a scheme to defraud”). 1
 7             As discussed above, the indictment alleges that the scheme to defraud includes
 8 hundreds of victims, “including but not limited to” the 67 victims referenced in Paragraph
 9 16 of the indictment. Here, while the execution section of the indictment (Paragraph 32)
10 focuses on 11 specified wirings in this district, the indictment alleges a scheme that goes
11 far beyond those wirings. The charged scheme includes hacking into point of sale
12 systems, stealing credit cards, and trafficking in those stolen credit cards over the
13 internet. The indictment alleges—and the evidence will show—that defendant used the
14 same malicious software, the same servers, the same email accounts and the same
15 websites to steal and sell credit card data from hundreds of victims. Therefore, all of
16 these intrusions are part of a single inextricably intertwined scheme to defraud, and
17 evidence of those intrusions is not evidence of “other acts” implicating Rule 404(b).
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         The same rule is applied in conspiracy cases, which generally follow the same principles as mail fraud
26 and wire fraud cases. United States v. Rizk, 660 F.3d 1125, 1131 (9th Cir. 2011) (recognizing the “well
27 established rule that the government in a conspiracy case may submit proof of the full conspiracy; it is not
     limited in its proof to the overt acts alleged in the indictment”); see United States v. Stapleton, 293 F.3d
28   1111, 1117 (9th Cir. 2002) (noting that the law of conspiracy and schemes to defraud are generally
     “parallel” and that “similar evidentiary rules apply” to conspiracies and schemes to defraud).
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 1                                          IV.     CONCLUSION
 2           Under the authorities discussed above, the government is entitled to present
 3 evidence of the full scope of the fraud to meet its burden of proving the existence of a
 4 scheme to defraud. The motion should be denied.
 5           DATE: July 29, 2016.
 6
 7 ANNETTE L. HAYES                                      LESLIE R. CALDWELL
   Acting United States Attorney                         Assistant Attorney General
 8
 9
   /s/ Norman M. Barbosa                                 /s/ Harold Chun
10 NORMAN M. BARBOSA                                     HAROLD CHUN
11 Assistant United States Attorney                      Trial Attorney
   Western District of Washington                        Computer Crime and Intellectual
12                                                       Property Section
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14 /s/ Seth Wilkinson
15 SETH WILKINSON
   Assistant United States Attorney
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1                                     CERTIFICATE OF SERVICE
2
             I hereby certify that on July 29th, I electronically filed the foregoing with the Clerk
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     of the Court using the CM/ECF system, which will send notification of such filing to the
4
     attorney of record for Defendant.
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6
7                                                       s/ Jennifer J. Witt
                                                        JENNIFER J. WITT
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